Case: 1:20-cv-06477 Document #: 1-7 Filed: 10/30/20 Page 1 of 19 PageID #:149




       EXHIBIT E
  Case: 1:20-cv-06477 Document #: 1-7 Filed: 10/30/20 Page 2 of 19 PageID #:150




File Ref. IV CSK 214/17

                                   JUDGMENT
                      IN THE NAME OF THE REPUBLIC OF POLAND

                                                                    On February 6, 2018



Supreme Court composed of:


               Supreme Court Judge: Katarzyna Tyczka - Rote (chairman, rapporteur)
               Supreme Court Judge: Monika Koba
               Supreme Court Judge: Roman Trzaskowski


                              Official Clerk: Katarzyna Joskowiak


in a case brought by Solo Investment LLC Sp. z O.O.
with its registered office in Rozplucie Pierwsze
against the Ludwin Commune for payment,
after being examined at the trial in Civil Chamber
on 6 February 2018,
cassation complaint of the plaintiff
from the verdict of the Court of Appeal in Lublin
of 24 January 2017, File reference no. I ACa 537/16,



                            dismisses the cassation appeal and orders the plaintiff
                      to pay the defendant the sum of 12,500 (twelve thousand
                      five hundred zlotys) as costs of cassation proceedings.
  Case: 1:20-cv-06477 Document #: 1-7 Filed: 10/30/20 Page 3 of 19 PageID #:151
                                                 2




                                          JUSTIFICATION




       Plaintiff - Solo Investment limited liability company in Rozplucie Pierwsze issued an
action to order from the defendant Ludwin Commune an amount of PLN 13,899,266.46 with
statutory interest from November 17, 2011 to the date of payment as reimbursement of
expenditures as it and its legal predecessor - Antar LTD limited liability company in Lublin
incurred for the defendant's real estate in the performance of an invalid lease contract for the
JAGODA Holiday Resort, for which the plaintiff evaded the effects of the declaration of will on
its conclusion. The plaintiff explained that the defendant had deceitfully misled the lessee as
to the possibility that he would acquire the property.
       By virtue of a judgment of 29 December 2015, the District Court in Lublin ordered the
defendant Municipality to pay the amount of PLN 11,239,951.09 with statutory interest from
December 3, 2011 to the payment date, in the remaining part dismissed the claim and ruled
on the costs of the proceedings.
       That Court established Antar Ltd. Sp. z o.o. in Lublin concluded on 15 February 2007
with the defendant, a property lease agreement consisting of two plots No. 90 and No. 94/2
with a total area of 9.19 ha, used as a holiday resort on the Lake Piaseczno. The aim of the
defendant was to transform the center into a modern and high standard facility. The lessee
was interested in purchasing the property. The contract was concluded for a period of 25
years, obliged the lessee to make investment outlays and settle them through deductions
from rent. In § 2 of the contract, the defendant ensured that the property is its property and
is free from encumbrances, property rights and liabilities of third parties and that there are no
obstacles to use it for running a holiday resort, in § 12 also obliged to sell the lessee real estate
on the terms set out in separate regulations. The transfer of rights and obligations by the
lessee from the contract to another entity was subject to the consent of the defendant.
  Case: 1:20-cv-06477 Document #: 1-7 Filed: 10/30/20 Page 4 of 19 PageID #:152
                                               3


       On September 23, 2009, Antar LTD transferred its contractual rights and obligations to
the plaintiff. The defendant agreed. Both companies invested in real estate. The disruption
occurred in 2011, when the plaintiff applied for the sale of the property to her and the
defendant refused, explaining that she was not planning to sell. The plaintiff then requested
the legal status of the property and obtained information that it is the property of the
defendant, however, regarding part of plot no. 90, a refund is pending at the request of the
previous owner, who was expropriated. Then the plaintiff proposed to terminate the contract
for reimbursement of expenditures, and if the defendant did not comply, she filed a statement
of 18 November 2011 on the evasion of the effects of the declaration of intent to conclude a
lease agreement due to a material error caused by the defendant.
       The District Court considered that at the time of the lease agreement, Antar LTD did
not know about the pending refund of the expropriated part of the property and if it was
aware that the proceedings were being conducted, it would not enter into a contract because
it was interested in the purchase of real estate, and the revindication proceedings prevented
this realization of this intention due to the provision of art. 34 par. 3 of the Act of 21 August
1997 on real estate management (one text: Journal of Laws of 2018, item 121, as amended).
Thus, it remained in a serious error regarding the content of the legal action carried out by the
defendant, although the insidious action cannot be attributed to the defendant. The Court
assessed that the lack of identity between the entity concluding the lease contract and the
entity submitting the declaration on evading legal effects of the declaration of its conclusion
does not prevent its affective submission, because the transfer of receivables not only results
in the succession of the claim itself, but also includes other elements on the creditor's
situation, including the rights shaping from art. 88 § 1 k.c. The Court further considered that
the plaintiff had kept the one year deadline to submit a formative declaration, since that
period - in the opinion of the Court - should have been counted from the date of receipt of
the defendant's letter dated 22 September 2011. The Court found that earlier, even to the
original lessee - Antar LTD, the information was available to detect
  Case: 1:20-cv-06477 Document #: 1-7 Filed: 10/30/20 Page 5 of 19 PageID #:153
                                                4


a mistake and this proceeding from the authority conducting the proceedings - in particular,
such inspection was carried out on June 13, 2008, during the administrative proceedings for
the annulment of the decision maintaining the decision refusing to return the previous owner
of the expropriated part of plot No. 90, which took place in the presence of authorized proxies
of Antar LTD. However, the Court of first instance stated that the plaintiff's predecessor acted
on the basis of the defendant's assurances, negating doubts as to the legal status of the
property, and in this respect remained in error as to the legal circumstances regarding the
subject of the contract. Only the presentation by the defendant of formal information about
the pending proceedings justified the statement that the plaintiff detected an error in a way
that would allow him to assess its significance. Effective evasion of the legal consequences of
the submitted declaration of will took place with the observance of the ine year deadline of
art. 88 § 1 k.c., its consequence was the invalidity of the contract, justifying the application of
the provisions on unjust enrichment to settle the value of outlays for property, which the
District Court established with the help of an expert opinion and considered gross due - with
the added tax rate on goods and services.
       As a result of the appeal of the defendant Ludwin Commune, the verdict of January 24
2017 changed the verdict of the District Court in that it dismissed the claim and ruled on the
costs of the proceedings.
       The Court of Appeals challenged the correctness of all legal applications of the District
Court. It concluded that the contract concluded by Antar LTD with the defendant did not
guarantee the lessee of the acquisition of the property, but only the possibility of buying it in
a non-tender mode, when the Commune would decide to sell it. However, the contract did
not oblige the defendant to sell plots of land. Erroneous belief about the obligation to sell real
estate, which the plaintiff invokes, did not have a foundation in the contract and does not
justify the position on introducing the lessor into an error of a significant nature regarding the
content of the legal transaction.
  Case: 1:20-cv-06477 Document #: 1-7 Filed: 10/30/20 Page 6 of 19 PageID #:154
                                               5


       That Court also stated that the clause contained in § 1 and 2 of the contract, according
to which the defendant was the owner of the real estate, and the property is not subject to
any property rights, corresponded to the truth, because the previous lessee's claim did not
fall into the categories of rights or obligations mentioned therein, this means it did not
constitute encumbrance or property rights or obligations of third parties under § 2 of the
contract.
       The Court of second instance reconsidered the significance of the circumstances
established by the District Court regarding the information obtained by Antar LTD from Leczna
County that Jerzy Wojtasiewicz had filed a claim for the return of part of lot no. 90 since 1991.
It stressed that in June 2008, in connection with the proceedings for the annulment of the
decision of the President of the Office of Housing and Urban Development of 22 March 2000,
confirming the decision of the Lublin Province Governor dated 14 December 1998 refusing to
return the property to the previous owner, a real estate inspection was carried out with the
company's professional proxies. This activity was part of the administrative proceedings in the
property restitution case. In the opinion of the Court of Appeals, the assessment of this fact
by the District Court was flawed. The plaintiff had already obtained some information about
the proceedings for the return of the real estate, and not only from the letter of the Mayor
dated September 22, 2011.
       The Court of Appeals took the view that the declaration on the evasion of the effects
of the declaration of will on conclusion of the contract as shaping should be made by the party
concluding the contract, as it was not possible to transfer the claim to this claim. As a result,
the plaintiff was not entitled to invoke a material error regarding the lease contract concluded
by its legal predecessor. The court also pointed out that in the transfer agreement the assignor
transferred to the assignee all the rights and obligations under the lease for PLN 262,288.96
net, which was the value of the recreational center lease and indicated that the transfer
contract included only the rights and obligations related to the lease. In addition, the Court of
Appeals noted that at the time of the assignment agreement (23 September 2009) Antar LTD
no longer had the power to evade the effects of the contract, because the deadline for its
  Case: 1:20-cv-06477 Document #: 1-7 Filed: 10/30/20 Page 7 of 19 PageID #:155
                                                 6


submission expired in June 2009. For these reasons, the plaintiff's claim is unjustified.
       The plaintiff appealed against the judgment of the Court of Appeals in its entirety by a
cassation appeal. In the complaint based on both cassation grounds, she alleged incorrect
application of art. 84 § 1 and 2 k.c. and art. 86 § 1 k.c., consisting of: erroneous acceptance
that Antar LTD did not conclude a lease agreement acting under the influence of a material
error in the legal transaction, even though it did not know about conducting proceedings
against art. 136 sec. 3 u.g.n .; improper application of art. 65 § 2 k.c. and misinterpretation of
the lease contract, consisting in accepting that the third party's claim for the return of the
expropriated property does not fall under the category of encumbrances and rights in
property and the obligations of third parties within the meaning of § 2 of the contract;
improper application of art. 88 § 2 k.c. by mistakenly accepting that the factual findings justify
assigning the lessee knowledge of the error in subjective terms already in June 2008; improper
application of art. 509 § 2 k.c. in conjunction with art. 84 § 1-2 k.c. in conjunction with art. 56
k.c. and art. 65 § 2 k.c. by mistakenly assuming that the contract of transfer of rights and
obligations under the lease contract concluded between Antar LTD and the plaintiff did not
transfer to the plaintiff the legal-formative right to evade the effects of a declaration of will
concluded under the influence of an error. Violation of procedural law was connected with
the improper application of art. 382 k.p.c., art. 378 § 1 k.p.c., art. 328 § 2 k.p.c. in conjunction
from art. 391 § 1 k.p.c. relying on the Court of Appeals not to submit its own factual findings,
but merely to report on the findings of the Regional Court, without indicating that it accepts
them, in a situation where the defendant's appeal contained allegations of incorrect factual
findings.
       In its applications, the plaintiff sought to have the judgment under appeal set aside in
its entirety and remand the case.
       The Supreme Court weighed the following:
       The plaintiff is wrong in accusing the defects in the recognition of the appellate pleas
in the statement of reasons for the judgment. Although the justification did not include the
formula on the Court of Appeals’
  Case: 1:20-cv-06477 Document #: 1-7 Filed: 10/30/20 Page 8 of 19 PageID #:156
                                                 7


acceptance of the findings of the District Court as its own, but such a position of this Court
results from the content of its considerations based on the findings of the District Court. These
findings were only assessed differently by the Court of Appeals - discrepancies between the
courts of both instances arose at the level of legal conclusions, not at the level of factual
findings. The justification allows to verify the reasoning of the Appellate Court, so the
procedural allegations made in the cassation complaint are not justified.
       On the other hand, the alleged incorrect application of the error provisions (Article 84
§ 1 of k.c.) and the rules for the interpretation of contracts should be considered justified. The
plaintiff is correct that the intention of Paragraph 2 of the lease contract was to provide the
lessee with the right that the property on which the lessee is to invest and which he is to lease
for a very long period has no legal burden that would disrupt the contract's performance,
including such, which by law make it impossible to make one of the contractual provisions
regarding the possibility of purchasing a leased real estate in a non-tender mode. If a
significant part of the property cannot be sold at all until the claims of the previous owner are
finally settled, then the contractual reservation of the purchase procedure ceases to be
dependent on the lessor's decision, because he cannot decide to sell that part of the land. In
addition, this type of claim introduces uncertainty about the possibility of implementing a
lease agreement. These circumstances essentially change the risk level of the lessee regarding
the concluded contract and should be included in significant elements of the content of the
contract. This is an error that may justify the evasion of the results of the declaration of will.
Such an assessment does not, however, authorize a cassation appeal because, contrary to the
applicant's claims, the result of the legal assessment of the circumstances indicating that the
claimant obtained information about the pending reimbursement proceedings was based on
the request for when the plaintiff obtained sufficiently precise knowledge about the subject
and nature of this proceeding. Contrary to the applicant's position, the statement of error is
not a legal act, but a specific state of consciousness based on the information obtained. In the
case of a legal entity, the knowledge of the members of the management body is important,
but it must be recognized that in the case of,
  Case: 1:20-cv-06477 Document #: 1-7 Filed: 10/30/20 Page 9 of 19 PageID #:157
                                                8


when the governing body authorizes and directs a person from outside the management to
participate in a given activity, the knowledge obtained by it must be treated as obtained by
that legal person. One cannot agree with the applicant's submissions that the findings of the
Court of first instance, assessed by the Court of second instance, result in the lack of
authorization of the defendant's power of attorneys in the inspection activities. On the
contrary, these findings indicate that the authorization was issued for certain activities, that
the management of Antar LTD granted proxies on the eve of the inspection, and that one of
the proxies submitted authorization documents to the persons making the inspection. It is
difficult to accept that the lessee can obtain more reliable evidence that there are claims
against the leased property and what kind of claims they have. If the fact of the defendant's
concealment of information about the proceedings is invoked by the applicant as the reason
justifying withdrawal from the contract, then the day of the property inspection in conjunction
with the information envelope that was associated with these activities must be considered a
moment in which Antar LTD learned about its mistake. Rightly so from that day, the Court of
Appeal counted the annual period provided for in art. 88 § 2 k.c. Because the period expired
before Antar LTD concluded the contract of transfer of the rights and obligations of the lease
agreement to the plaintiff, the right to evade the legal consequences of the declaration of will
expired and carefully, whether it was no longer due to the plaintiff, since it did not exist at the
time of conclusion of the agreement.
       Consequently, the cassation appeal could not be upheld and was subject to dismissal
pursuant to Art. 398 k.p.c.
       The decision on the costs of cassation proceedings results from the provisions of art.
398 in conj. from art. 391 § 1 and art. 98 k.p.c.
Case: 1:20-cv-06477 Document #: 1-7 Filed: 10/30/20 Page 10 of 19 PageID #:158




        ORIGINAL
Case: 1:20-cv-06477 Document #: 1-7 Filed: 10/30/20 Page 11 of 19 PageID #:159
Case: 1:20-cv-06477 Document #: 1-7 Filed: 10/30/20 Page 12 of 19 PageID #:160
Case: 1:20-cv-06477 Document #: 1-7 Filed: 10/30/20 Page 13 of 19 PageID #:161
Case: 1:20-cv-06477 Document #: 1-7 Filed: 10/30/20 Page 14 of 19 PageID #:162
Case: 1:20-cv-06477 Document #: 1-7 Filed: 10/30/20 Page 15 of 19 PageID #:163
Case: 1:20-cv-06477 Document #: 1-7 Filed: 10/30/20 Page 16 of 19 PageID #:164
Case: 1:20-cv-06477 Document #: 1-7 Filed: 10/30/20 Page 17 of 19 PageID #:165
Case: 1:20-cv-06477 Document #: 1-7 Filed: 10/30/20 Page 18 of 19 PageID #:166
Case: 1:20-cv-06477 Document #: 1-7 Filed: 10/30/20 Page 19 of 19 PageID #:167
